Case 2:24-cv-04055-JXN-LDW Document 70 Filed 07/03/24 Page 1 of 3 PageID: 554




                                                   Liberty Square Building
                                                   450 5th Street, N.W.
                                                   Washington, DC 20530




                                                   July 3, 2024


   Via ECF

   The Honorable Leda Dunn Wettre, U.S.M.J.
   United States District Court
   District of New Jersey
   Martin Luther King Building & U.S. Courthouse
   50 Walnut Street
   Newark, NJ 07101

                  Re:    United States v. Apple, No. 24-cv-04055 (D.N.J.) (JXN-LDW)
                         Renewed Request for Rule 16 Conference

   Dear Judge Wettre:

            On June 27, 2024, the United States and Plaintiff States wrote to respectfully
   request that the Court schedule an initial Rule 16 conference and order the parties to
   provide a joint status report to the Court within ten calendar days. See ECF No. 64. In
   response, on July 1, 2024, Defendant Apple Inc. filed a letter asking the Court to delay
   the Rule 16 conference until after the Court resolves Apple’s forthcoming motion to
   dismiss. See ECF No. 67. Apple also effectively moves to stay discovery until after a
   ruling on its motion to dismiss. This discovery motion is premature and contrary to the
   spirit of Local Civil Rule 37.1(b) and 16.1(g)(1).

           Apple’s letter motion to stay discovery is premature because a Rule 16 conference
   will allow the parties to obtain the Court’s guidance and instruction on how to proceed on
   case management issues, including a discovery schedule. Apple acknowledges that the
   parties have worked to successfully negotiate various case management and discovery
   issues, while recognizing that the parties remain far apart on other terms. ECF No. 67 at
   6. This disagreement is exactly why a Rule 16 conference is appropriate. As the Third
   Circuit has noted, the purpose of a Rule 16 conference is to “provide for judicial control
   over a case at an early stage in the proceedings” and “allow courts to actively manage the
   timetable of case preparation so as to expedite the speedy disposition of cases.” Newton
   v. A.C. & S., Inc., 918 F.2d 1121, 1126 (3d Cir. 1990). This is exactly what the United
   States and Plaintiff States hope to achieve.

            Accordingly, the United States and Plaintiff States respectfully renew their
   request for the Court to schedule a Rule 16 conference and order the parties to submit a
   joint status report identifying the areas of agreement and disagreement along with the
   parties’ respective positions. If the Court is inclined to order briefing in response to
Case 2:24-cv-04055-JXN-LDW Document 70 Filed 07/03/24 Page 2 of 3 PageID: 555

   Apple’s request to stay discovery, the United States and Plaintiff States will respond on
   any schedule set by the Court and respectfully request that the parties address the motion
   in person at a Rule 16 conference.


                                                Respectfully submitted,

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Case 2:24-cv-04055-JXN-LDW Document 70 Filed 07/03/24 Page 3 of 3 PageID: 556



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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

    UNITED STATES OF AMERICA et al.,

                   Plaintiff,
                                                      Case No. 2:24-cv-04055-JXN-LDW
           v.

    APPLE INC.
                   Defendants.

                                 CERTIFICATE OF SERVICE

          I hereby certify that the above letter and this Certificate of Service were served

   upon defendant’s counsel, Liza M. Walsh, Esq., Craig S. Primis, Esq., Devora W. Allen,

   Esq., and K. Winn Allen, Esq., 1301 Pennsylvania Avenue, NW, Washington, D.C.,

   20004, by CM/ECF on July 3, 2024.



                                                        BY: s/ Jonathan Lasken
                                                        JONATHAN LASKEN
                                                        Assistant Chief
                                                        Civil Conduct Task force
                                                        United States Department of Justice
                                                        Antitrust Division
                                                        Attorney for Plaintiff United States
